                                       Case 3:14-cr-00175-WHA Document 1160 Filed 02/21/20 Page 1 of 2




                                   1

                                   2

                                   3

                                   4

                                   5

                                   6

                                   7                                UNITED STATES DISTRICT COURT

                                   8
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                   9

                                  10

                                  11   UNITED STATES OF AMERICA,
                                  12                  Plaintiff,                            No. CR 14-0175 WHA
Northern District of California
 United States District Court




                                  13           v.

                                  14   PACIFIC GAS AND ELECTRIC                             FOLLOW-UP QUESTION
                                       COMPANY,
                                  15
                                                      Defendant.
                                  16

                                  17

                                  18        At the order to show cause hearing on Wednesday, Mr. Orsini represented that if a C-

                                  19   hook had rusted to a point of 30% to 50% material loss, PG&E would assign it an “E” priority

                                  20   code, which requires attention within 12 months. Apparently this system of priority code

                                  21   assignment comes from PG&E’s own internal guidelines, an “Electric Transmission

                                  22   Preventative Maintenance Manual.” Mr. Orsini, however, made no statement regarding

                                  23   CPUC’s General Order rules. General Order Rule 44.3 requires lines or parts to be replaced or

                                  24   reinforced before safety factors have been reduced to less than two-thirds of the safety factor

                                  25   specified in Rule 44.1. For example, as found by CPUC, PG&E was required to maintain a

                                  26   safety factor of 1.33 on the C-hook on Tower :24/199, which it failed to do so.

                                  27

                                  28
                                       Case 3:14-cr-00175-WHA Document 1160 Filed 02/21/20 Page 2 of 2




                                   1        By MARCH 2 AT NOON, as part of its response to the materials requested at the order to

                                   2   show cause hearing, PG&E shall please reconcile its priority code assignment guidelines with

                                   3   the General Order rules detailed above and explain how both apply to the C-hook in question.

                                   4

                                   5        IT IS SO ORDERED.

                                   6

                                   7   Dated: February 21, 2020.

                                   8

                                   9
                                                                                            WILLIAM ALSUP
                                  10                                                        UNITED STATES DISTRICT JUDGE
                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                     2
